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                                        ATTACHMENT NO. 4

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO


  ,                                                 )
                                                    )     CASE NO.
                 Plaintiff,                         )
                                                    )     JUDGE BENITA Y. PEARSON
                 v.                                 )
                                                    )     STIPULATION REGARDING
  ,                                                 )     INADVERTENT DISCLOSURE OF
                                                    )     ATTORNEY-CLIENT PRIVILEGE,
                 Defendant.                         )     WORK PRODUCT PROTECTION OR
                                                    )     OTHER APPLICABLE PRIVILEGE



         IT IS HEREBY STIPULATED to, between the parties, through their respective

  counsel, as follows:

         i.      Any inadvertent disclosure or production of documents protected by the parties’

                 attorney-client privilege, work product protection or other applicable privilege

                 will not constitute a waiver of either any available privilege or protection by the

                 disclosing party.

         ii.     In the event that the receiving party discovers that it has received documents

                 protected by the attorney-client privilege, work product protection or other

                 applicable privilege, it will bring that fact to the attention of the producing party

                 immediately upon discovery.

         iii.    In the event that the producing party discovers that it has produced documents

                 protected by the attorney-client privilege, work product protection or other
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               applicable privilege, it will bring that fact to the attention of the receiving party

               immediately upon discovery.

        iv.    Upon request of the producing party, the receiving party will promptly return to

               the producing party any documents protected by the party’s attorney-client

               privilege, work product protection or other applicable privilege and any copies

               that the receiving party may have made.

        v.     Upon the request of the producing party, the receiving party will promptly

               disclose the names of any individuals who have read or have had access to the

               documents protected by the party’s attorney-client privilege, work product

               protection or other applicable privilege.

        vi.    No such inadvertently produced documents protected by the parties’

               attorney-client privilege, work product protection or other applicable privilege

               may be used in evidence against the producing party.

        vii.   Attorney-client privilege and work product protection shall have the meanings as

               provided in FRE 502 (g) (1) and (2).


  Stipulated by:

  ______________________                       _____________________
  Attorney for Plaintiff                       Attorney for Defendant




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